 Fill in this information to identify the case:

     United States Bankruptcy Court for the:

                               District of   Delaware
                                             (State)
     Case number (If known):                                        Chapter 11                                                                    Check if this is an
                                                                                                                                                  amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                    12/15
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.    Debtor’s name                              Desert Blonde Tarantula Limited


2.    All other names debtor used
                                                 Charlotte Olympia
      in the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names



3.    Debtor’s federal Employer
      Identification Number (EIN)
                                                  3       3     1    2 2      7 1 2 4



4.    Debtor’s address                           Principal place of business                                   Mailing address, if different from principal place
                                                                                                               of business

                                                 474            North Rodeo Drive
                                                 Number          Street                                         Number       Street


                                                                                                                P.O. Box

                                                 Beverly Hills             CA           90210
                                                  City                      State            ZIP Code           City                      State             ZIP Code

                                                                                                                Location of principal assets, if different from
                                                                                                                principal place of business

                                                 Los Angeles
                                                 County                                                        Number       Street




                                                                                                               City                          State         ZIP Code




5.    Debtor’s website (URL)

                                                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6.    Type of debtor
                                                         Partnership (excluding LLP)
                                                         Other. Specify:
Debtor            Desert Blonde Tarantula Limited                                                 Case number (if known)
                 Name



                                         A. Check one:
7.    Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                         B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                             See http://www.naics.com/search/ .
                                             5      6    6      1

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
                                             Chapter 7
      debtor filing?
                                             Chapter 9
                                             Chapter 11. Check all that apply:
                                                                 Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                insiders or affiliates) are less than $2,490,925 (amount subject to adjustment on
                                                                4/01/16 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                of operations, cash-flow statement, and federal income tax return or if all of these
                                                                documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                 A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                             Chapter 12

9.    Were prior bankruptcy cases            No
      filed by or against the debtor
      within the last 8 years?               Yes.   District                              When                         Case number
                                                                                                  MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District                               When                        Case number
                                                                                                  MM / DD / YYYY


10.   Are any bankruptcy cases               No
      pending or being filed by a
      business partner or an                Yes.    Debtor     See Schedule 1 attached hereto                         Relationship
      affiliate of the debtor?
                                                    District                                                          When
       List all cases. If more than 1,                                                                                               MM / DD / YYYY
                                                    Case number, if known
       attach a separate list.
     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                                                                                                                                        American LegalNet, Inc.
                                                                                                                                        www.FormsWorkFlow.com
Debtor         Desert Blonde Tarantula Limited                                               Case number (if known)
               Name




11.   Why is the case filed in this   Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


12.   Does the debtor own or have         No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                    Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                   What is the hazard?

                                                    It needs to be physically secured or protected from the weather.

                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                   attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                   assets or other options).

                                                    Other



                                              Where is the property?
                                                                            Number        Street




                                                                            City                                          State       ZIP Code



                                              Is the property insured?

                                                    No
                                                    Yes. Insurance agency

                                                         Contact name

                                                         Phone




             Statistical and administrative information



13.   Debtor’s estimation of          Check one:
      available funds                     Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                          1-49                               1,000-5,000                              25,001-50,000
14.   Estimated number of                                                    5,001-10,000                             50,001-100,000
                                          50-99
      creditors*
                                          100-199                            10,001-25,000                            More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets*
                                          $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3
                                                                                                                               American LegalNet, Inc.
                                                                                                                               www.FormsWorkFlow.com
Debtor         Desert Blonde Tarantula Limited                                                  Case number (if known)
               Name


                                             $0-$50,000                          $1,000,001-$10 million                        $500,000,001-$1 billion
16.   Estimated liabilities*                 $50,001-$100,000                    $10,000,001-$50 million                       $1,000,000,001-$10 billion
                                             $100,001-$500,000                   $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                             $500,001-$1 million                 $100,000,001-$500 million                     More than $50 billion




             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
      debtor                                 petition.

                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on    02/17/2018
                                                            MM / DD / YYYY

                                           /s/ William Kaye                                              William Kaye
                                             Signature of authorized representative of debtor             Printed name

                                             Title   Chief Restructuring Officer




18.   Signature of attorney                         /s/ Dennis A. Meloro                                 Date         02/17/2018
                                             Signature of attorney for debtor                                            MM / DD / YYYY



                                             Dennis A. Meloro
                                             Printed name
                                             Greenberg Traurig, LLP
                                             Firm name
                                             1007           N Orange Street, Suite 1200
                                             Number         Street
                                             Wilmington                                                        DE               19801
                                             City                                                              State            ZIP Code

                                             302-661-7000                                                      melorod@gtlaw.com
                                             Contact phone                                                     Email address



                                             4435                                                              DE
                                             Bar number                                                        State




Official Form 201              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
                                         SCHEDULE 1
The following list identifies all of the affiliated entities, including the Debtor filing this petition
(collectively, the “Debtors”), that filed voluntary petitions for relief under Chapter 11 of the
Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware,
contemporaneously with the filing of this petition. The Debtors filed a motion requesting joint
administration.

  1.   Desert Blonde Tarantula Limited
  2.   Pinktoe Tarantula Limited
  3.   Red Rump Tarantula Limited
       Fill in this information to identify the case:

       Debtor name    Desert Blonde Tarantula Limited
       United States Bankruptcy Court for the:                           District of Delaware
                                                                                 (State)
                                                                                                                                                  Check if this is an
       Case number (If known):
                                                                                                                                                  amended filing




     Official Form 204
     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
     Unsecured Claims and Are Not Insiders                                                                                                                      12/15

     A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
     disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
     secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
     largest unsecured claims.


      Name of creditor and complete         Name, telephone number, and email         Nature of the   Indicate if     Amount of unsecured claim
      mailing address, including zip        address of creditor contact               claim           claim is        If the claim is fully unsecured, fill in only unsecured
      code                                                                           (for example,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                     trade debts,     unliquidated,   total claim amount and deduction for value of
                                                                                     bank loans,      or disputed     collateral or setoff to calculate unsecured claim.
                                                                                     professional
                                                                                     services, and
                                                                                     government
                                                                                     contracts)
                                                                                                                      Total claim, if    Deduction for       Unsecured
                                                                                                                      partially          value of            claim
                                                                                                                      secured            collateral or
                                                                                                                                         setoff
   ALBATRANS INC 
             rd                           Giovanni Chiarelli 
   14910 183  Street 
1  New York, NY 11413                     718‐553‐2978                               Services                                                              $        119,457.22
                                          infoflr@albatrans.com 
    
                                           
   SOUTH COAST PLAZA                      Debbie Alcock 
2  3333 Bristol Street                    800‐782‐8888                               Landlord                                                              $          90,917.29
   Costa Mesa, CA 92626                   AlcockD@southcoastplaza.com 
                                           
   474 NORTH RODEO DRIVE LLC              Ronald Simms/Eva Yamamoto
3  9320 Wilshire Blvd., Suite 300         310‐246‐0885                               Landlord                                                              $          52,780.40
   Beverly Hills, CA 90212                310‐246‐1531 (fax) 
   SIMON PROPERTY GROUP (SPG)  Amy David 
4  225 West Washington Street  317‐636‐1600                                          Landlord                                                              $          37,280.11
   Indianapolis, IN 46204      Amy.David@simon.com 

      L&M 65TH MADISON LLC 
                th                        William Friedland 
      22 East 65  Street                                                             Landlord                                                              $          32,605.12
5                                         212‐744‐3300 
      New York, NY 10065 

   VISTA IMAGING                          Keith Grethen, President 
   521 Taylor Way                         650‐802‐9685                               Services                                                              $          28,428.24
6 
   San Carlos, CA 94070                   sales@vistaimaging.com 


   SAVINO DEL BENE 
                                          Jamin Nieri 
   34 Englehard Avenue                                                               Services                                                              $          20,882.84
7                                         732‐574‐3900 
   Avenel, NJ 07001 

   RODL & PARTNER 
                                          Elisa Fay 
   1100 South Tower                                                                  Professional 
                                          404‐525‐2600                                                                                                      $          14,260.00 
8  225 Peachtree Street                                                              Services 
                                          elisa.fay @ roedlUSA.com 
   Atlanta, GA 30303 


     Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 1
                                                                                                                                               American LegalNet, Inc.
                                                                                                                                               www.FormsWorkFlow.com
                                                                                                    Case number (if
  Debtor          Desert Blonde Tarantula Limited                                                   known)
                  Name

      Name of creditor and complete             Name, telephone number,        Nature of the         Indicate if     Amount of unsecured claim
      mailing address, including zip            and email address of creditor claim                  claim is        If the claim is fully unsecured, fill in only
      code                                      contact                       (for example, trade    contingent,     unsecured claim amount. If claim is partially
                                                                              debts, bank loans,     unliquidated    secured, fill in total claim amount and deduction
                                                                              professional           , or disputed   for value of collateral or setoff to calculate
                                                                              services, and                          unsecured claim.
                                                                              government
                                                                              contracts)                             Total claim, if   Deduction for      Unsecured
                                                                                                                     partially         value of           claim
                                                                                                                     secured           collateral or
                                                                                                                                       setoff

   OPEN TEXT GXS                            John Doolittle, Chief Financial    Services 
9  9711 Washington Blvd., Suite 700         Officer                                                                                                      $          12,233.72 
   Gaithersburg, MD 20878                   800‐334‐2255 

    MANHATTAN MECHANICAL 
    CONTRACTORS, INC.                       Aurelio Rios                       Services 
10  227 West 29th Street                                                                                                                                 $             6,176.80 
                                            212‐594‐3130 
    New York, NY 10001 

    SECURE CLEANING SERVICE CORP                                               Services 
                                            Controller 
11  P.O. Box 3993                           917‐373‐9644 
                                                                                                                                                         $             4,159.20 
    Glendale, NY 11385 

    AVI'S MAID AND JANITORIAL SERVICES 
                                        Controller 
12  P.O. Box 25224                      310‐998‐3289 
                                                                               Services                                                                  $             3,678.20 
    Los Angeles, CA 90025 

    UPS                                     Controller 
13  P.O. Box 7247‐0244                      800‐811‐1648                       Services                                                                  $             3,524.79 
    Philadelphia, PA 19170‐0001             bankruptcy@ups.com 


    GLOBAL MERCHANT SERVICES                Controller 
                            th
14  121 S. Orange Avenue, 15  Floor         800‐450‐0031                     Services                                                                    $             3,497.78 
    Orlando, FL 32801‐3221                  info@globalmerchantservices.com 

    ECHELON MAINTENANCE INC. 
                                            James R. Jones 
15  4262 Blue Diamond Rd., Ste. 102‐374      
                                                                               Services                                                                  $             3,060.00
    Las Vegas, NV 89139 
    HARVARD MAINTENANCE INC.                Controller 
16  2 South Biscayne Blvd., Suite 3650      305‐351‐7300                       Services                                                                  $             1,747.46 
    Miami, FL 33131                         info@harvardmaint.com 

    LIVERPOOL CARTING CO., INC. 
                                            Controller 
17  5 Bruckner Blvd.                        718‐993‐4525 
                                                                               Services                                                                  $             1,726.70 
    Bronx, NY 10454 


      ANTHONY PINSON 
      ********                                                                 Services                                                                  $             1,680.00 
18 
      Venice, CA 90291 

    CORY MARTIN EVENTS                      Cory Martin 
19  9615 Brighton Way, Suite 227            310‐273‐8456                       Services                                                                  $             1,340.50 
    Beverly Hills, CA 90210                 cory@corymartinevents.com 

    ZERAH & CO.                             Richard Zerah 
                                                                                                                                                        $             1,320.54 
20  519 Deer Park Avenue                    631‐424‐5550                       Professional Services                                    
                                                                                                                                                         
    Dix HIlls, NY 11746                     Rich@ZerahCo.com 




  Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 2
                                                                                                                                            American LegalNet, Inc.
                                                                                                                                            www.FormsWorkFlow.com
 Fill in this information to identify the case and this filing:


 Debtor Name     Desert Blonde Tarantula Limited
 United States Ban kruptcy Court for the:                                District of   Delaware
                                            - - --   -------                           State)

 Case number /If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341 , 1519, and
3571.



             Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation ; a member or an authorized agent of the partnership; or another
         individual serving as a representative of the debtor in this case .

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         D Schedule A/8: Assets-Real and Personal Property (Official Form 206A/B)
         D Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         D Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         D Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         D Schedule H: Codebtors (Official Form 206H)
         D Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         D Amended Schedule
         ~ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

        D Other document that requires a declaration
         I declare under penalty of perjury that the foregoing is tru


       Executed on         02/17/2018
                           MM / DD / YYYY




                                                                  Chief Restructuring Officer
                                                                  Position or relationship to debtor



A TL 22612494v6
                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

Desert Blonde Tarantula Limited,                    Case No. 18-__________ (   )

                             Debtor.


                         LIST OF EQUITY SECURITY HOLDERS

         1. Pinktoe Tarantula Limited



                       [The remainder of this page is intentionally blank.]




ATL 22612494v6
 Fill in this information to identify the case and this filing:


 Debtor Name     Desert Blonde Tarantula Limited
 United States Bankruptcy Court for the:
                                           - - - - --   ----
                                                                       District of   Delaware
                                                                                     State)

 Case number /If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571 .



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation ; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case .

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         D Schedule AIB: Assets-Real and Personal Property (Official Form 206A/B)
         D Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         D Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         D Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         D Schedule H: Codebtors (Official Form 206H)
         D Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         D Amended Schedule
         D Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        C8]   Other document that requires a declaration              List of Equity Security Holders




         I declare under penalty of perjury that the foregoing is t


       Executed on         02/17/2018                         X
                           MM / DD / YYYY



                                                                                         e


                                                                  Chief Restructuring Officer
                                                                  Position or relationship to debtor
                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                             Chapter 11

Desert Blonde Tarantula Limited,                   Case No. 18-__________ (     )
                            Debtor.




                          CORPORATE OWNERSHIP STATEMENT

         Pursuant to Federal Rule Bankruptcy Procedure 1007(a)(1), the following are

corporations, other than a governmental unit, that directly or indirectly own 10% or more of any

class of the debtor’s equity interests:

         1. Pinktoe Tarantula Limited

         2. Charlotte Olympia Holdings Limited

         3. Charlotte Olympia Dellal

         4. Onward Luxury Group SpA

         5. Onward Holding Co. Ltd.
 Fill in this information to identify the case and this filing:


 Debtor Name     Desert Blonde Tarantula Limited
 United States Bankruptcy Court for the:                                District of   Delaware
                                           - --   - - - - --     -                    State)

 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities , any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for. up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation ; a member or an authorized agent of the partnersh ip; or
         another individual serving as a representative of the debtor in th is case .

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         D Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
         D Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         D Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         D Schedule G: Executory Contracts and Unexpired Leases (Officia l Form 206G)
         D Schedule H: Codebtors (Official Form 206H)
         D Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         D Amended Schedule
         D Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        [8J   Other document that requires a declaration              Corporate Ownership Statement




         I declare under penalty of perjury that the foregoing is tru


       Executed on         02/17/2018
                           MM / DD / YYYY




                                                                     Chief Restructuring Officer
                                                                     Position or relationship to debtor



Officia l Form 202                            Declaration Under Penalty of Perjury for Non-Individual Debtors                    Americnn Lega lNel, In c. ~
                                                                                                                                 www FormsWorkflow.com ~ ,Q
                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

Desert Blonde Tarantula Limited,                    Case No. 18-__________ (     )

                               Debtor.


              CERTIFICATION CONCERNING LIST OF ALL CREDITORS

         The above-captioned debtor and debtor-in-possession (the “Debtor”) hereby certifies

under penalty of perjury that the List of All Creditors, submitted herewith, pursuant to Local

Rule 1007-1(a) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware, formatted in portable document format,

containing the consolidated list of creditors of the Debtors, is complete and to the best of the

Debtor’s knowledge, correct and consistent with Debtor’s books and records.

         The information contained herein is based upon a review of the Debtor’s books and

records. However, no comprehensive legal and/or factual investigations with regard to possible

defenses to any claims set forth in the List of All Creditors have been completed. Therefore, the

listing does not and should not be deemed to constitute: (1) waiver of any defense to any listed

claims; (2) an acknowledgement of the allowability of any listed claims; and/or (3) a waiver of

any other right or legal position of the Debtors.
 Fill in this information to identify the case and this fillng:


 Debtor Name    Desert Blonde Tarantula Limited
 United States Bankruptcy Court for the:                            District of   Delaware
                                           - - -- - - - - - -                     State)

 Case number /If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341 ,
1519, and 3571 .



             Declaration and signature



         I am the president, another officer, or an authorized ag ent of the corporation ; a member or an authorized agent ,of the partnership; or
         another individual serving as a representative of the debtor in th is case.

         I have examined the information in th e documents ch ecked below and I have a reasonable belief that th e information is tru e and co rrect:


         0   Schedule NB: Assets-Real and Personal Property (Official Form 206A/B)

         0   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         0   Schedule EI F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         0   Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         D Schedule H. Codebtors (Official Form 206H)
         0 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         D Amended Schedule
         0   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

        ~ Other document that requires a declarati on              List of Creditors




       Executed on         02/17/2018
                           MM / DD / YYYY



                                                                  William Kaye
                                                                  Printed name

                                                                  Chief Restructuring Officer
                                                                  Position or relationship to debtor
A TL 22612494v6

Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors                     A merican LegalNe l, Inc.   h.·_
                                                                                                                                  www .FormsWorkF low c9.m ~
